Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 1 of 33

IN THE UNITED STATES DISTRICT COURT

FILED

AUG 0 5 2022

 

FOR THE WESTERN DISTRICT OF TEXAS, MIDLAND-ODESSA

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

Plaintiff,

JASON COPLEY, DA’VONTA COPLEY,
ALBERTICO GUTIERREZ RUBIO,
ADRIAN QUEZADA, SHAWN COTTON
and JOSHUA GARCIA,

Intervenor Plaintiffs,

Vv.

PLAINS PIPELINE, L.P.; PLAINS ALL
AMERICAN GP LLC, PLAINS
MARKETING, L.P., and COPPERHEAD
PIPELINE CONSTRUCTION, INC.,

Defendants

 

Civil Action No. 7:20-cv-00082-DC

CONSENT DECREE

 

I. RECITALS

1. This matter was instituted by Plaintiff Equal Employment Opportunity

Commission (“Commission” or “EEOC”) alleging that Defendants Plains Pipeline, L.P.,

Plains All American GP LLC, Plains Marketing, L.P. (collectively “Plains”) and

Copperhead Pipeline and Construction Inc., (“Copperhead”) subjected male employees

Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada, Shawn Cotton, Joshua

Garcia and other aggrieved individuals to severe or pervasive harassment on the basis

of race, national origin, sex, and/or retaliation which created a hostile work environment.
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 2 of 33

The Commission also alleged that Defendants retaliated against Jason Copley,
Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada, Shawn Cotton, Joshua
Garcia and other aggrieved individuals in the terms, conditions, or privileges of their
employment, including threats of termination. Further, the Commission alleged that
Defendants retaliated against Jason Copley, Da’Vonta Copley, Albertico Gutierrez
Rubio, Adrian Quezada, Shawn Cotton, Joshua Garcia and other aggrieved individuals
by terminating them for engaging in protected activity, by terminating them because of
their association with those who engaged in protected activity, and/or by interfering with
their efforts to obtain subsequent employment because of their protected activity.

2. Defendants have denied these allegations. Defendants agree to enter into this
Consent Decree (“Decree”) for the sole purpose of compromising a disputed claim and
to avoid the risks and expenses of continued litigation. The Decree does not constitute
a finding of liability on the part of Defendants for any allegations in this matter. The
entry of this Decree shall not be used as evidence that Defendants violated the
provisions of Title VII of the Civil Rights Act of 1964, or any comparable law.

3. The Parties to this Decree are Plaintiff EEOC; Defendants Plains and
Copperhead; and Plaintiff-Intervenors Jason Copley, Da’Vonta Copley, Albertico
Gutierrez Rubio, Adrian Quezada, Shawn Cotton, and Joshua Garcia.

4. The Parties, desiring to settle this action, agree to the jurisdiction of this Court
over the Parties and the subject matter of this action, and agree to the power of this

Court to enter this Decree enforceable against all Parties.
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 3 of 33

5.

As to the issues resolved, this Decree is final and binding upon the Parties and

their successors and assigns.

6.

For the purpose of amicably resolving disputed claims, the Parties jointly request

this Court to adjudge as follows:

IT IS ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

7.

ll. TERM AND SCOPE

Term: The duration of this Decree will be three (3) years from the date it is

entered by the Court.

8.

apply:

Scope: The terms of this Decree will apply to the following:

8.1. For Defendant Plains, all personnel in the Seminole, Texas Field Office
and certain positions supporting and/or supervising personnel at the Seminole,
Texas Field Office that are located in the Midland, Texas Office. The positions
subject to the decree are identified in Exhibit E.

8.2. For Defendant Copperhead, any oil and gas or pipeline repair businesses
that it owns or operates in Texas, Oklahoma, or New Mexico.

Defendant Copperhead: As to Defendant Copperhead, the following provisions

9.1. Defendant Copperhead hereby certifies to the Court and to the EEOC that
it does not currently own and operate any oil and gas or pipeline repair businesses

in Texas, Oklahoma, and New Mexico.
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 4 of 33

9.2, Defendant Copperhead hereby certifies to the Court and to the EEOC that
it filed for dissolution on October 11, 2021 and the State of Oklahoma has issued
Copperhead a Certificate of Dissolution.
9.3. Defendant Copperhead shall provide the EEOC with annual written
certifications through the duration of the Decree that it has not assumed ownership
or operations of any business in Texas, Oklahoma, or New Mexico involving oil
and gas or pipeline repair. The first such certification shall be due 12 (twelve)
months after entry of the Decree.
9.4. If Defendant Copperhead assumes ownership or operation of a business
involving oil and gas or pipeline repair in Texas, Oklahoma, or New Mexico during
the duration of this Decree, it shall notify EEOC no later than 30 days in advance
and shall be bound by the provisions of this Decree contained in Paragraphs 18-
19, Section VI (Paragraphs 21-29), Section VII (Paragraphs 30-33), and Section
VIIl (Paragraphs 34-36) below, without further act or deed by any person and
without further notice to or order from the Court. Otherwise, Copperhead will not
be bound by any of the provisions of this Decree contained in Paragraphs 18-19,
Section VI (Paragraphs 21-29), Section VII (Paragraphs 30-33), and Section VIII
(Paragraphs 34-36) below.

9.4.1. If, pursuant to Paragraph 9.4, Paragraphs 18-19, as well as Sections

VI through VIII become binding on Defendant Copperhead, then any

provision in those Paragraphs with a deadline set for a specified number of

days “after entry of this decree” shall instead have a deadline set for the
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 5 of 33

same number of days “after the notice provided to the EEOC under
Paragraph 9.4.”
lll. ISSUES RESOLVED
10. This Decree resolves the claims alleged in the above-captioned lawsuit, and
constitutes a complete resolution of all of the Commission’s claims of unlawful
employment practices under Title VII of the Civil Rights Act of 1964, as amended (Title
VII), that arise from Charge of Discrimination Numbers 543-2017-00755, 543-2018-
00384, 543-2017-00754, 543-2018-00382, 543-2017-00757, 543-2018-00385, 543-
2017-00758, 543-2018-00390, 543-2017-00761 , 543-2018-00387, 543-201 7-00763 and
543-2018-00391 filed by Jason Copley, Da’Vonta Copley, Albertico Gutierrez Rubio,
Adrian Quezada, Shawn Cotton, and Joshua Garcia and all other aggrieved individuals
identified in Exhibit A attached hereto.
41. Defendants and their officers, agents, employees, successors, and all other
persons in active concert or participation with any of them will not interfere with the relief
herein ordered but will cooperate in the implementation of this Decree.
IV. MONETARY RELIEF

12. Defendants will not condition the receipt of individual relief upon Jason Copley,
Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada, Shawn Cotton, and
Joshua Garcia or any other aggrieved individual's agreement to: (a) maintain as
confidential. the terms of this Decree or the facts of the case; (b) waive his or her

statutory right to file a charge with any federal or state anti-discrimination agency; or (c)
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 6 of 33

promise not to apply or reapply for a position at any of Defendants’ operations or
facilities.

13. | This Decree resolves all claims of the Commission against Defendants on behalf
of Jason Copley, Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada, Shawn
Cotton, and Joshua Garcia and other aggrieved individuals, including claims for back
pay, front pay, compensatory and punitive damages, injunctive relief, and attorneys’
fees and costs arising out of the issues relating to this lawsuit.

14. To resolve these claims, Defendants will pay a total and final settlement of one
million, seven hundred and fifty thousand dollars, $1,750,000.00 Of this total of
$1,750,000, the parties agree that $1,320,513.70 will be allocated to the intervenors and
aggrieved individuals as compensatory damages and $429,286.30 will be allocated to
Intervenors’ attorneys’ fees, as specified by a final distribution list that will be filed with
the court under seal as Exhibit A to the Decree. Of this total payment of $1,750,000
under the Decree, Defendant Plains will pay $1,400,000 and Defendant Copperhead
will pay $350,000. EEOC retains the discretion to determine the apportionment of the
settlement amount with respect to aggrieved individuals. The parties agree that the
$1,320,713.70 in settlement funds to be paid to the intervenors and aggrieved
individuals represent compensatory damages. EEOC and Intervenors will send
Defendants’ counsel an executed IRS W-9 Form for payments designated as
“compensatory damages’ for the amounts received pursuant to Exhibit A of the Decree.
Thereafter, these amounts will be reported on IRS Form 1099 and will not be subject to

withholdings. By January 31, 2023, each Payee will be issued IRS Form 1099s for the
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 7 of 33

compensatory damage amounts. IRS Form 1099s will also be issued to intervenor
attorneys for the attorney’s fees amounts listed in Exhibit A of the Decree.
15. The payments required under this Decree will be mailed to the payee(s) no later
than twenty-five (25) days after the parties sign and return to counsel for Defendants (a)
the signed Decree, (b) signed Settlement Agreements (for Intervenors) and (c) W-9s for
each payee. All payments will be mailed to the addresses provided by the EEOC in
Exhibit A, the Final Distribution List.
16. Within three (3) business days after payments are mailed to payees, counsel for
Defendants will send to the EEOC copies of the checks issued, via email to the EEOC
addressee in Paragraph 45, below.
17. All mailing and distribution costs associated with the distribution of settlement
funds to the payees on EEOC’s final distribution spreadsheet will be paid by the
defendant incurring same. Each defendant is responsible only for its own portion of the
settlement payment in Paragraph 14 above. Failure of one defendant to satisfy its
settlement obligations does not affect the full and final release of the other defendant.
V. OTHER INDIVIDUAL RELIEF
18. Defendant Copperhead will expunge from personnel files for Charging Parties
Jason Copley, Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada, Shawn
Cotton, Joshua Garcia and other identified aggrieved individuals in this lawsuit (a) any
and all references to the allegations of discrimination filed against Defendants that
formed the basis of this action; (b) any and all references to the Charging Parties and

aggrieved individuals’ participation in this action; and (c) any and all documents that
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 8 of 33

refer, make reference to, or relate to any alleged performance deficiencies documented
after the Charging Parties filed a charge of discrimination.
19. Defendant Copperhead will expunge the termination of Charging Parties from all
Defendant Copperhead’s employment records and will ensure that all of Defendant
Copperhead’s records reflect that Charging Parties voluntarily resigned from their
employment. For each identified aggrieved individual who was also terminated by
Copperhead, Copperhead will expunge the termination from all of Copperhead’s
employment records and will ensure that all of Copperhead’s records reflect that
identified aggrieved individuals also voluntarily resigned from employment.
20. Defendants will provide to each Charging Party and identified aggrieved
individual a letter of reference in the form attached to the Decree as Exhibit B.

VI. GENERAL EQUITABLE RELIEF
A. Injunctive Relief
21. Defendants, their officers, agents, successors, and other persons in active
concert or participation with them, are specifically enjoined for the duration of the
Decree from engaging in any employment practice which discriminates on the basis of
race, national origin, or sex.
22. Defendants, their officers, agents, successors, and other persons in active
concert or participation with them, are specifically enjoined for the duration of the
Decree from engaging in reprisal or retaliation of any kind against any person because
of such person’s opposition to any practice made unlawful under Title VII of the Civil

Rights Act of 1964, as amended. Defendants will not retaliate against a person
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 9 of 33

because such person brings an internal complaint of discrimination with Defendants;

because such person files or causes to be filed a charge of discrimination with the

Commission or any other agency charged with the investigation of employment

discrimination complaints, or whose statements serve as the basis of a charge; or

because such person testifies or participates in the investigation or prosecution of an
alleged violation of these statutes. Defendants will not retaliate in any manner against
individuals identified as witnesses in this action or who assisted in the investigation
giving rise to this action. Nor will Defendants retaliate against any such persons
identified as a witness or possible witnesses of discrimination in future investigations or
proceedings.

B. EEO Policy Review

23. Within sixty (60) days of the entry of this Decree, Defendants will review their

existing EEO policies and revise, if necessary, to conform with the law.

24. For the duration of this Decree, Defendants’ written EEO policies must include:
24.1. Astrong and clear commitment to preventing unlawful discrimination
based on race, national origin, and sex, and to preventing unlawful retaliation;
24.2. Aclear and complete definition of disparate treatment based on race,
national origin, and sex, and retaliation;

24.3. Astatement that discrimination based on race, national origin, and sex,
and retaliation are prohibited and will not be tolerated;
24.4. Aclear and strong encouragement of persons who believe they have been

discriminated or retaliated against to report such concerns;
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 10 of 33

24.5. The identification of specific individuals, with telephone numbers, to whom
employees can report their concerns about discrimination, harassment, or
retaliation;

24.6. The clear identification of any employee hotline numbers that employees
can use to report their concerns about discrimination, harassment, or retaliation;
24.7. Aclear explanation of the steps an employee must take to report
discrimination or retaliation, which must include the options of either an oral or
written complaint;

24.8. An assurance that Defendants will investigate allegations of any activity
that might be construed as unlawful discrimination or retaliation and that such
investigation will be prompt, fair, and reasonable, and conducted by a neutral
investigator specifically trained in receiving, processing, and investigating
allegations of discrimination;

24.9. An assurance that appropriate corrective action will be taken by
Defendants to make victims whole and to eradicate the unlawful conduct within
its workforce;

24.10. A description of the consequences, up to and including termination, that
will be imposed upon violators of Defendants’ anti-discrimination and anti-
retaliation policies;

24.11. A promise of maximum feasible confidentiality for persons who report

unlawful discrimination, harassment, and/or retaliation, or who participate in an

10
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 11 of 33

investigation into allegations of discrimination, harassment, and/or retaliation;
and
24.12. An assurance of non-retaliation for persons who report unlawful :
discrimination, harassment, and/or retaliation, and for witnesses who provide
testimony or assistance in the investigation(s) of such unlawful discrimination,
harassment, and/or retaliation.
25. Within thirty (30) days after completion of the policy review required under
Paragraphs 23 and 24 above, written EEO policies will be placed in a prominent
location frequented by employees within the scope of Paragraph 8 and upload to
Defendants’ intranet. Defendants will make the written EEO policies available in
alternative formats as necessary for persons with cognitive and print disabilities that
may prevent them from reading the policies. Alternative formats will include but not be
limited to an audiotape format.
25.1. For Defendant Plains, the written EEO policies must remain on the
company’s intranet for the duration of this Decree, and Defendant Plains will
ensure all employees within the scope of Paragraph 8 have access to the
company’s intranet where the EEO policies are available.
25.2. For Defendant Plains, a copy of its EEO policies must be submitted to the
EEOC with its first Annual Report due August 1, 2023. For the duration of this
Decree, Defendant Plains will provide copies of any material changes or updates,
if any, to its EEO policies on subsequent Annual Reports.

C. Training

11
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 12 of 33

26. For the duration of this Decree, pursuant to the terms of this Paragraph 26,
Defendants will provide EEO training for all employees within the scope of Paragraph 8.
For Defendant Plains, the employees within the scope of Paragraph 8 are those holding
the positions listed in Exhibit E. Under this provision, employees will be trained at a
minimum in the following areas: (a) the Defendants’ policies and procedures for
reporting alleged discrimination, harassment, and retaliation; (b) the kind of conduct
which may constitute unlawful discrimination, harassment, and retaliation; (c) the
penalties of engaging in discriminatory or retaliatory behavior; (d) Defendants’ non-
retaliation policy; and (d) Defendants’ procedures for investigating discrimination,
harassment, or retaliation. All training under this Paragraph 26 will be at Defendants’
selection and expense. Training may be by live presentation, online training, and/or
computer training, or any combination of the foregoing. The training will be conducted
as follows:
26.1. Non-managerial Employees: Defendants will provide non-managerial
employees at least sixty (60) minutes of training on race, national origin, and sex
discrimination and retaliation in each twelve (12) month period of this Decree:
26.2. Managerial, Supervisory, and Human Resources Employees: For the
duration of this Decree, Defendants will require all individuals who work in a
managerial, supervisory, or human resources capacity within the scope of
Paragraph 8, to receive at least four (4) hours of training annually regarding Title
VII of the Civil Rights Act of 1964 and other federal anti-discrimination laws.

Specifically, the training must directly address race, national origin, and sex

12
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 13 of 33

discrimination, legal and policy prohibitions on retaliation, and instruction in the
proper methods of receiving, communicating, investigating (where applicable),
and ameliorating discrimination. Defendants will emphasize with managerial and
supervisorial employees that due to their position of power, such employees (a)
must be particularly vigilant not to discriminate, whether consciously or because
they rely on subconscious stereotypes; (b) must be sensitive of how their actions
or words might be perceived by subordinate employees; and (c) must avoid the
temptation to retaliate against an employee because a complaint is made, or
might be made, against them. Additionally, Defendants will require employees
who are newly hired or recently promoted into a managerial, supervisory, or
human resources position with authority over employees within the scope of
Paragraph 8 to begin the trainings required by this Decree within 90 days, and
will complete no less than one (1) hour of training regarding complaint handling
and unlawful discrimination, and retaliation within ninety (90) days of being hired
or promoted into a supervisory, managerial, or human resources position. The
training under this Paragraph 26.2 must be provided by an outside vendor such
as a consultant or attorney.

26.3. Training on Investigative Techniques: For the duration of this Decree,
all employees within the scope of Exhibit E with responsibility for responding to or
investigating complaints of discrimination, will be provided two (2) additional
hours of annual training instructing on accepted professional standards for

receiving and investigating complaints of discrimination, including such matters

13
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 14 of 33

as witness interview techniques, other evidence-gathering techniques,
maintaining investigative notes and records, legal analysis of the evidence, and
methods for eliminating and ameliorating violations of anti-discrimination law.
The training under this Paragraph 26.3 must be provided by an outside vendor
such as a consultant or attorney.
27. Defendants agree that the first such training session for each employee group
identified in Paragraph 26 above, will take place within one hundred eighty (180) days
after the Court’s entry of this Decree.
28. Though Plains is not required to conduct any live trainings, in the event that
Plains elects to conduct a live training, including training conducted by video
conference, the Commission, at its discretion, may designate one or more Commission
representatives to attend and observe such live training session. Defendants or their
counsel will provide the Commission with twenty-one (21) days’ notice via email that a
live training session will be conducted, so that the Commission may elect to attend in
person or virtually. The Commission will only observe such trainings that it attends and
will not actively participate unless requested.
Dz. Notice Posting
29. Within ten (10) calendar days after the Court's entry of this Decree, Defendants
will post the Notice attached as Exhibit C or D to this Decree, in a conspicuous place
frequented by employees at each location within the scope of Paragraph 8. For
Defendant Plains, these locations are the Midland and Seminole offices. The Notice will

be the same type, style, and size as set forth in Exhibit C or D. The Notice will remain

14
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 15 of 33

posted for the duration of this Decree. If the Notice becomes defaced or illegible,
Defendants will replace it with a clean copy. Defendants will certify to the Commission,
in writing, within fifteen (15) days of entry of this Decree that the Notice has been
properly posted and will provide recertification in each of the reports required under the
Reporting provisions of this Decree. In addition, within sixty (60) days of entry of this
Consent Decree, Defendants will distribute this Notice (Exhibit D) by hand or via email
to all current employees within the scope of Paragraph 8 and to all new employees at
those locations within thirty (30) days of hiring the new employees. An email to the
EEOC from Defendants’ counsel stating that the notice has been posted will satisfy this
initial certification requirement.

Vil. EQUITABLE RELIEF REGARDING MANAGERS
A. Individuals Ineligible for Rehire
30. Defendant Plains agrees that it will never rehire Mario Sanchez at any of its
facilities and/or operations in the United States. To assure that Mario Sanchez is never
rehired by Defendant Plains, Plains will place a document in his personnel file that
reads in bold, “Not Eligible for Rehire at any facility in the United States.” If Defendant
Plains maintains any computerized personnel file for Mario Sanchez, such
‘ computerized file must also be annotated to reflect that he is not eligible for rehire.
31. Defendant Copperhead agrees that it will never rehire Terry Hammonds at any of
Defendant's facilities and/or operations identified in 8.2. To assure compliance, if
Defendant Copperhead maintains any personnel file for Terry Hammond, Defendant

Copperhead will place a document in their personnel files that reads in bold, “Not

15
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 16 of 33

Eligible for Rehire.” If Defendant Copperhead maintains any computerized personnel file
for Terry Hammonds such computerized file must also be annotated to reflect that he is
not eligible for rehire.
B. Discipline for Violation of Policies
32. Defendant Plains agrees that within thirty (30) days of the entry of this Decree,
Defendant Plains will issue a letter of reprimand to Ronnie Kea for his failure to promptly
and appropriately address complaints of discrimination received from Charging Parties
and other aggrieved individuals regarding the unwelcome conduct of Mario Sanchez.
_ The letter of reprimand must be retained in the personnel file of Ronnie Kea for at least
the duration of this Decree.
C. EEO Compliance as a Component of Management Evaluation
33. Within sixty (60) days of the entry of this Decree, and at least continuously for the
duration of this Decree, Defendant Plains will include in its “Code of Business Conduct:
Respect and Fairness” policy a statement that any supervisor or manager who violates
the respect and fairness policy and/or laws prohibiting discrimination and retaliation may
be subject to discipline up to and including termination.
Vill. RECORD KEEPING AND REPORTING PROVISIONS

34. For the duration of this Decree, Defendants will maintain all records concerning
implementation of this Decree, including, but not limited to, all of the following within the
scope of Paragraph 8:

34.1. Personnel files;

34.2. Payroll records;

16
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 17 of 33

34.3. Job Postings or job vacancy records;

34.4. Complaints of discrimination based on race, national origin, and/or sex

and records documenting investigation of such complaints, including witness

statements, documents compiled, conclusions and findings, and any corrective

and remedial actions taken;

34.5. Complaints of retaliation for opposition to perceived unlawful employment

practices or for participation in any investigations or proceedings under Title VII,

including witness statements, documents compiled, conclusions and findings,

and any corrective and remedial actions taken.
35. Defendants will provide four total reports following the entry of this Decree. The
first report (the “Initial Report”) will be due October 1, 2022 following the date of the
Court's entry of this Decree. Each following report (the “Annual Reports”) will be
submitted to the EEOC annually during the term of the Decree; specifically, the Annual
Reports will be due on August 1, 2023, August 1, 2024 and the last report on August 1,
2025.
36. Reporting Requirements: The Initial Report will provide the following
information: Reports of Discrimination/ Complaints of Retaliation (36.1 and 36.2);
Posting of Notice (36.4); Documentation of Ineligibility for Rehire (36.7); Letters of
Reference (36.6); and Discipline (36.8). The Annual Reports will provide the following
information: Reports of Discrimination/ Complaints of Retaliation (36.1 and 36.2);
Posting of Notice (36.4); Status of Policy Review, provide revised EEO policies (36.5)

Documentation of Ineligibility for Rehire still in personnel file (86.7); Discipline letter still

17
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 18 of 33

in personnel file (36.8); Management evaluation and compensation system in code of

business conduct (36.9); and Training reports (36.3).

36.1.

Reports of Discrimination

36.1.1. For purposes of this Paragraph 36.1, the term “report of
discrimination’ will include any written or verbal complaint made to a
manager or of which a manager is aware which alleges discrimination, or
the witnessing of discrimination, based on race, national origin, or sex,
even if such terminology is not used by the complainant. The complainant
need not invoke the terms “discrimination,” “Title VII,” “disparate
treatment,” “violation,” or “rights.” For Defendant Plains, this Paragraph
36.1 applies only to the positions listed in Exhibit E which are located in
the Seminole Field Office.

36.1.2. The report will include:

a. The name, address, email address, and telephone number of each
person making a complaint of race, national origin, or sex, discrimination
to Defendants or to.any federal, state, or local government agency;

b. The name, address, email address, and telephone number of each
person identified as a potential witness to the incident of discrimination;
C. A summary of each complaint, including the date of the complaint,
the name of the individual(s) who allegedly engaged in the discriminatory
conduct, the Defendants’ investigation and response to the complaint, the

name of the person who investigated or responded to the complaint, and

18
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 19 of 33

36.2.

36.3.

what, if any, resolution was reached.

Complaints of Retaliation

36.2.1. For purposes of this Paragraph 36.2, the term “complaint of
retaliation” will include any written or verbal complaint which alleges
retaliation for activity that is protected under Title Vil or alleges retaliation
for conduct which the Defendants recognize or should have recognized as
protected activity under any of those statutes even if the complainant does
not use legal or technical terminology. For Defendant Plains, this
Paragraph 36.2 applies only to the positions listed in Exhibit E which are .
located in the Seminole Field Office.

36.2.2. The report will include:

a. The name, address, email address, and telephone number of each
person making a complaint of retaliation to Defendants or to any federal,
state, or local government agency;

b. The name, address, email address, and telephone number of each
person identified as a potential witness to the incident of retaliation;

c. A summary of each complaint, including the date of the complaint,
the name of the individual(s) who allegedly engaged in the retaliatory
conduct, the Defendants’ investigation and response to the complaint, the
name of the person who investigated or responded to the complaint, and
what, if any, resolution was reached.

Training.

19
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 20 of 33

36.3.1. For each training program required under Paragraph 26, and
conducted during the term of the Decree, Defendants’ report will provide
an attendance log containing the employee, the employee’s title, and the
employee’s signature.
36.3.2. For each training program conducted by Defendants’ staff,
Defendants’ reports will provide the following information: (a) a detailed
agenda; (b) copies of all training material provided to or utilized by the
trainers; (c) the name of each trainer and a summary of his or her
qualifications.
36.3.3. For each training program conducted by an outside
consultant or vendor not affiliated with Defendants, Defendants’ reports
will identify the consultant and/or vendor and provide a copy of the
program agenda.
36.3.4. For each computer-based training program conducted,
Defendants’ annual reports will include a copy of the online training
module, unless Defendants’ contract with the third-party vendor who
provided the training does not allow Defendants to distribute the module
externally. In such a case, Defendants will provide the agenda for the
computer-based training and the vendor's contact information.
36.4. Posting of Notice: Defendants will report to the Commission that the
Notice required to be posted under Paragraph 29 of this Decree has remained

posted during the entire term of the Decree, or, if removed, was promptly

20
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 21 of 33

replaced. Defendants will also report on the distribution of the Notice as required
under Paragraph 29 of this Decree.

36.5. Policy Review: Defendants will report on the status of the EEO policy
review process required under Paragraphs 23-24, above. The report will certify
that the EEO policy review required by Paragraphs 23-24 has been completed
and that the EEO policies have been posted per the terms of paragraph 25.
36.6. Letters of Reference: Defendants will report on their compliance with
Paragraph 20 of this Decree regarding letters of reference. The report will
provide a copy of the letters and proof of delivery to Charging Parties and
Identified Aggrieved Individuals.

36.7. Documentation of Ineligibility for Rehire: Defendants will report on their
compliance with Paragraphs 30-31 of this Decree and certify that the required
documentation of no rehire status of Mario Sanchez (Plains) and Terry
Hammonds (Copperhead) was placed in all appropriate employment records.
36.8. Discipline: Defendant Plains will report on their compliance with
Paragraph 32 of this Decree regarding the discipline issued to Ronnie Kea. A
copy of the letter of reprimand will also be provided to the Commission with
Defendant Plains’ Initial Report.

36.9. Management Evaluation and Compensation System: Defendant
Plains will report on their compliance with Paragraph 33 of this Decree by

providing a copy of its Code of Business Conduct to the EEOC.

21
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 22 of 33

IX. NOTICE AND RIGHT TO CURE

37. In the event that the EEOC concludes that either or both Defendants is not in
compliance with any of the terms of this Decree, prior to any attempt to enforce the
terms of this Decree, the EEOC shall provide written notice detailing any alleged non-
compliance and allow the Defendant(s) the opportunity to cure the alleged violation.
After such written notice, the EEOC and the Defendant(s) shall conduct a conference
call within thirty (30) days of the written notice of the alleged non-compliance to discuss
any remaining dispute. The Defendants shall have thirty (30) days from the conference
call to cure any identified non-compliance prior to the EEOC exercising any
enforcement, extension, or remedy provided herein.
38. The Parties also acknowledge and agree that each Party shall bear their own
expenses and costs, including attorneys’ fees, for conducting any conferral pursuant to
Paragraph 37 regarding any alleged violation of this Decree.

X. RETENTION OF JURISDICTION AND ENFORCEMENT OF DECREE
39. This Court will retain jurisdiction of this cause for purposes of compliance with
this Decree and entry of such further orders or modifications as may be necessary or
appropriate to effectuate equal employment opportunities for employees.
40. There is no private right of action to enforce Defendants’ obligations under the
Decree with regard to the aggrieved individuals listed in Exhibit A, and only the
Commission, or its successors or assigns, may enforce compliance herewith. The
Plaintiff-Intervenors, Da’Vonta Copley, Albertico Gutierrez Rubio, Adrian Quezada,

Shawn Cotton, Joshua Garcia, may elect to have EEOC enforce the Defendants’

22
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 23 of 33

obligations under the Decree or choose private counsel to enforce compliance with the
decree.
41. At any time during the duration of the Decree, the Commission may petition this
Court for compliance with this Decree after the notice and cure procedure of Paragraph
37 has been completed. Should the Court determine that any Defendant has not
complied with this Decree, appropriate relief, including extension of this Decree for such
period as may be necessary to remedy its non-compliance, may be ordered.
42. Absent extension, this Decree will expire by its own terms at the end of the 36th
month from the date of entry without further action by the Parties.
XI. EEOC AUTHORITY
43. With respect to matters or charges outside the scope of this Decree, this Decree
will in no way limit the powers of the Commission to seek to eliminate employment
practices or acts made unlawful by any of the statutes over which the EEOC has
enforcement authority, and do not arise out of the claims asserted in this lawsuit.
XII. COSTS AND ATTORNEY FEES
44. Each party will be responsible for and will pay its own costs and attorney fees
except as otherwise provided for in this Decree.
XIll. NOTICE
45. Unless otherwise indicated, any notice, report, or communication required under
the provisions of this Decree will be sent by certified mail, postage prepaid and by
email, as follows:

Jeff A. Lee Angella H. Myers
EQUAL EMPLOYMENT OPPORTUNITY Kaufman, Dolowich & Voluck, LLP

23
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 24 of 33

COMMISION

500 Gold Ave. NW, Ste. 6401
POB 128

Albuquerque, NM 87103
Jeff.Lee@eeoc.gov

Mary.Oneill@eeoc.gov
For Plaintiff EEOC

Derrick Boyd

BOYD POWERS & WILLIAMSON

P.O. Box 957

105 North State Street, Suite B

Decatur, Texas 76234
(dboyd@bpwlaw.com)

For Plaintiff Intervenors Da’Vonta Copley,

Albertico Gutierrez Rubio, Adrian Quezada,

Shawn Cotton, Joshua Garcia

14643 Dallas Parkway, Suite 550
Dallas, Texas 75254
Angella.myers@kdvlaw.com

For Defendant Copperhead Pipeline and
Construction Inc

Megan B. Prout, Senior Vice President
PLAINS ALL AMERICAN GP LLC

333 Clay St., Suite 1900

Houston, TX 77002

713-646-4100

legal _notices@paalp.com

For Plains Pipeline, L.P., Plains All
American GP LLC, Plains Marketing, L.P.

Joseph Y. Ahmad

AHMAD, ZAVITSANOS & MENSING, P.C.
1221 McKinney, Suite 2500

Houston, Texas 77010

joeahmad@azalaw.com

For Plains Pipeline, L.P., Plains All
American GP LLC, Plains Marketing, L.P.

XIV. SIGNATURES

46. The parties CYL to the entry of this Decree subject to final approval by the

Court.

SO ORDERED this KH _Y *_ day of

, 2022,

conf : (xfs

DAVID COUNTS
United States District Judge

24
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 25 of 33

BY CONSENT:

EQUAL EMPLOYMENT OPPORTUNITY
COMMISION

py, MARY ONEILL Stesasrsnnnoa

Mary Jo O'Neill
Regional Attorney

 

Date:

 

PLAINTIFF INTERVENORS:
By:

 

Ted Anderson

KILGORE & KILGORE

3141 Hood Street, Suite 500
Dallas, Texas 75219

tca@kilgorelaw.com

Derrick Boyd

BOYD POWERS & WILLIAMSON
On behalf of Plaintiff Intervenors
Da'Vonta Copley, Aibertico
Gutierrez Rubio, Adrian Quezada,
Shawn Cotton, Joshua Garcia

Date:

 

COPPERHEAD PIPELINE AND
CONSTRUCTION INC.

.

f°

By: mM:
ucas Rawlings
Past President

Date: /1 [202

PLAINS PIPELINE, L.P.,
By Plains GP LLC, Its General Partner

By:

Megan B. Prout, Senior Vice President,
Commercial Law & Litigation

Date: Hala.

    

PLAINS ALL AMERICAN GP LLG

 

Commercial Law & Litigation

Date: H1Awf22.

PLAINS MARKETING, L.P.
By Plains GP LLC, Its General Partner

By: Lids A FB LA Z oe
Megary®. t, Senior Vice President,

Commercial Law & Litigation

Date: Hd lp | AL

25
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 26 of 33

APPROVED AS TO FORM:

Digitally signed by Jeff A
Jeff A Lee

Date: 2022.08.04

10:37:10 -06'00'
JEFF A. LEE
Senior Trial Attorney
Michael LaGarde
Trial Attorney
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION
500 Gold Avenue SW, Suite 6401
P.O. Box 128
Albuquerque, NM 87103
Telephone: (505) 738-6723
Mobile: (405) 684-1032
Jeff. Lee@eeoc. cov
Michael. _LaGarde@eeoc.cov

 

For Plaintiff FEOC

 

fe “
Ted Anderson ~ po
KILGORE & KILGORE”

3141 Hood Street, Suite 500
Dallas, Texas 75219

tca @kilgorelaw.com

and

Derrick Boyd

BOYD POWERS & WILLIAMSON
P.O. Box 957

105 North State Street, Suite B
Decatur, Texas 76234

(dboyd@bpwlaw.com)

For Plaintiff Intervenors Da'Vonta Copley,
Albertico Gutierrez Rubio, Adrian
Quezada, Shawn Cotton, Joshua Garcia

26

 

Angelia H. Myers

Sharon Gilmore

Kaufman Dolowich & Voluck, LLP
14643 Dallas Parkway, Suite 550
Dallas, TX 75254
Angella.myers@kdvlaw.com

‘Sharon gilmore@kdvilaw.com

For Defendant Copperhead Pipeline and
Construction Inc,

 

Joseph Y. Aina

AHWVAD AVITSANOS &
MEN SING, P.C.

122) McKinney, Suite 2500
Houston, Texas 77010
joeahmad @azalaw.com

For Plains Pipeline, L.P., Plains All
American GP LLC, Plains Marketing,
L.P.
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 27 of 33

APPROVED AS TO FORM:

 

JEFF A. LEE

Senior Trial Atorney

Michael LaGarde

Trial Attorney

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION

500 Gold Avenus SW, Suite 6401
P.O. Box 128

Albuquerque, NM 877103
Telephone: (505) 738-6723
Mobile: (405) 684-1032

Jel. lLee@esoc.aov

Michael LaGarde@eenc.qov

For Plaintiff EEOC

 

Ted Anderson

KILGORE & KILGORE

3141 Hood Street, Suite 500
Dallas, Texas 752179

tea @kiloorelaw.com

and

Derrick Boyd

BOYD POWERS & WILLIAMSON
P.O, Box 957

{05 North State Street, Suite B
Decatur, Texas 76234

(aboyd @bpwiaw.com)

For Plaintiff Intervenors Da'Vonta Copley,

Albertica Gutierrez Rubio, Adrian
Quezada, Shawn Cotton, Joshua Garcia

)

4 on gece we WY U4, hie Pb ph lner a

 

Angella H. Myers Y

Sharon Glimore

Kauiman Dolowich & Voluck, LLP

14643 Dallas Parkway, Suite S50

Dallas, TX 78254

Angella myers (@kdvlaw.com
Sharon gimore@kdviaw.cam

For Defendant Copperhead Pipeline and
Construction ine,

 

 

Joseph ¥ /Anrnad
AHMAD ZAVITSANOS &

MENS! NG, PG.

{224° Mekinney, Suite 2500

Houston, Texas 77010

jogahmad Qazalaw com

For Plains Pipeline, L.P., Plains All
American GP LLC, Plains Marketing,
LP.
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 28 of 33

No.

EXHIBIT A - CONSENT DECREE

Name

Intervenors

Total Amount of
Distribution

 

Jason Copley

cio BOYD POWERS &
WILLIAMSON

P.O. Box 957

105 North State Street, Suite B
Decatur, Texas 76234

 

Da’ Vonta Copley
cio BOYD POWERS &
WILLIAMSON

 

Shawn Cotton
c/o BOYD POWERS &
WILLIAMSON

 

Albertico Gutierrez Rubio
c/o BOYD POWERS &
WILLIAMSON

 

Adrian Quezada
clo BOYD POWERS &
WILLIAMSON

 

Joshua Garcia
c/o BOYD POWERS &
WILLIAMSON

From Plains

From
Copperhead

 

CE agxXhano

 

 

 

_ i_Z

 

 

_,lCETa asx

 

kK

BOYD POWERS &
WILLIAMSON Law Firm
Attorney Fees & Expenses

429,486.30

429,486.30

 

EEOC’s Aggrieved Individuals

 

Manuel Melendez
419 W 50th
Odessa, TX 79764

 

Alejandro Melendez
c/o Manuel Melendez
419 W 50th

Odessa, TX 79764

 

 

 

 

Julio Flores
310 W Berry Dr.
Hobbs, NM 88240

 

 

10

Jesus Martinez
7101 Casa Bonita
Hobbs, NM 88242

 

 

11

George Vizcaino
13591 W. Westfield Dr.
Odessa, TX 79763

 

 

12

 

Kenneth Grider

 

 

 

 

 

 

 

27

 
Case 7:20-cv-00082-DC-RCG

Document 96 Filed 08/05/22 Page 29 of 33

 

HCR 4 Box 1481
Denver City, TX 79323

 

13

Richard Altman
5320 East Ave D
Lovington, NM 88260

 

14

David Gutierrez
1110 W Van Buren
Lovington, NM 88260

 

15

Billy Ramos
1110 W Aspen Ave.
Lovington, NM 88260

 

 

 

 

 

16

Samuel “Kyle” Carrasco
1401 E Navajo Drive #2502
Hobbs, New Mexico 88240

 

 

 

 

28

 

 

 

 
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 30 of 33

EXHIBIT B (Letter of Reference)

To whom it may concern:

This letter confirms that [insert name] was employed at Copperhead from [insert dates of
employment] and on occasion worked for various projects with Plains. During this time period,
he performed in accordance with industry standards.

Unfortunately, Copperhead has ceased doing business in this industry and has received a
Certificate of Dissolution from the State of Oklahoma. If it were still in business, [/nsert name]
would be eligible for re-employment.

Plains would welcome the opportunity to work with him again on future projects, either as an
employee of Copperhead or another contractor with whom Plains does business.

Sincerely,

C. Drew Engstrom
Senior Director, Division Operations, for Plains All
American GP

 

Lucas M. Rawlings
Former President of Copperhead Pipeline and Construction,
Inc.

29
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 31 of 33

EXHIBIT C
NOTICE for Plains Locations

The following notice is being posted pursuant to the terms of a Consent Decree
reached between the Parties in EEOC v. Plains Pipeline, L.P., Plains All American GP
LLC, Plains Marketing, L.P., (“collectively Plains”) and Copperhead Pipeline and
Construction Inc., (“Copperhead”) filed in the United States District Court for the
Western District of Texas, Civil Action No. 7:20-cv-00082-DC.

Management of Plains wishes to emphasize its company’s fundamental policies
of providing equal employment opportunity in all operations and in all areas of
employment practices. Plains seeks to ensure that there will be no discrimination
against any employee or applicant for employment on the grounds of race, color,
religion, sex, pregnancy, national origin, age or disability. This policy extends to
insurance benefits and all other terms, conditions and privileges of employment.

Pursuant to Title VII of the Civil Rights Act of 1964, as amended, it is unlawful for
an employer to discriminate based upon the race, national origin, or sex of an applicant
or employee. Further, it is unlawful for any employer to retaliate against an employee
because he or she has opposed discriminatory employment practices, or because he or
she has filed a charge of discrimination with any municipal, state or federal equal
employment opportunity agency, because he or she has participated in an investigation
of a charge of discrimination, or because he or she has associated with an individual or
individuals who have made discrimination complaints, filed charges of discrimination, or
participated in investigations of charges.

Plains respects the right of its employees and applicants for employment to work
in an environment free from discrimination. Accordingly, Plains affirms its commitment
to complying with Title VIl’s prohibitions on discrimination and retaliation. Plains further
affirms that its policies prohibit all discrimination based on race, national origin, or sex.
Plains also affirms that no individual will be retaliated against for their participation in
complaint activity, charge filing, or association with individuals who engaged in
protected complaint and charge filing activities.

Any employee who believes that he/she has suffered discrimination because of ©
race, national origin, or sex has the right to contact the EEOC at the Public Portal at
www.eeoc.gov. In compliance with federal law, no official of Plains will retaliate against
an employee who makes an internal complaint of discrimination or who contacts the
EEOC or its state counterpart.

This Notice will remain posted for the term of three (3) years.

By:

 

Plains Senior Director, Division Operations
Date

30
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 32 of 33

EXHIBIT D

NOTICE for Copperhead Locations
(contingent upon re-opening of operations)

The following notice is being posted pursuant to the terms of a Consent Decree
reached between the Parties in EEOC v. Plains Pipeline, L.P., Plains All American GP
LLC, Plains Marketing, L.P., (“collectively Plains”) and Copperhead Pipeline and
Construction Inc., (“Copperhead”) filed in the United States District Court for the
Western District of Texas, Civil Action No. 7:20-cv-00082-DC.

Pursuant to Title VII of the Civil Rights Act of 1964, as amended, it is unlawful for
an employer to discriminate based upon the race, national origin, or sex of an applicant
or employee. Further, it is unlawful for any employer to retaliate against an employee
because he or she has opposed discriminatory employment practices, or because he or
she has filed a charge of discrimination with any municipal, state or federal equal
employment opportunity agency, because he or she has participated in an investigation
of a charge of discrimination, or because he or she has associated with an individual or
individuals who have made discrimination complaints, filed charges of discrimination, or
participated in investigations of charges.

Copperhead affirms its commitment to complying with Title VIl’s prohibitions on
discrimination and retaliation. Copperhead further affirms that its policies prohibit all
discrimination based on race, national origin, or sex. Copperhead also affirms that no
individual will be retaliated against for their participation in complaint activity, charge
filing, or association with individuals who engaged in protected complaint and charge
filing activities.

Any employee who believes that he/she has suffered discrimination because of
race, national origin, or sex has the right to contact the EEOC at the Public Portal at
www.eeoc.gov. In compliance with federal law, no official of Copperhead will retaliate
against an employee who makes an internal complaint of discrimination or who contacts
the EEOC or its state counterpart.

This Notice will remain posted for the term of three (3) years.

By:

 

President of Copperhead Date

31
Case 7:20-cv-00082-DC-RCG Document 96 Filed 08/05/22 Page 33 of 33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXHIBIT E
Plains Title Plains Location
yen Resources Manager Midland
Cyn Resources Generalist Midland
Manager, Construction (1)* Midland
Manager, HSE Specialist (1)* Midland
Manager, Operations (1)* Midland
Manager, Operations (1)* Seminole
Manager, Operations Technical Midland
Support (1)
Senior Director, Division .
Operations (1)* Midland
Supervisor, Construction (2)* Midland
Administrative Assistant (1)4 Seminole
Corrosion Technicians (3)4 Seminole
Electrical & Instrumentation Seminole
Technicians (2)4
Measurement Technician (1) 4 Seminole
Mechanical Technicians (4)4 Seminole
Pipeline Operators (10) 4 Seminole
Pipeliners (9) 4 Seminole
Supervisors, Construction (2)* Seminole
Supervisors, Maintenance (2)* Seminole
Supervisors, Operations (1)* Seminole

 

AThese positions are subject to the training requirements of Paragraph 26.1
“These positions are subject to the training requirements of Paragraph 26.2
‘This position is subject to the training requirements of Paragraph 26.3

The parentheses contain the number of individuals who hold this position as of June 15, 2022. If
employees holding these positions are added to these offices, they will be subject to the training
requirements in Paragraph 26, and their completion of trainings will be reflected in the reports required by
Paragraph 36.3. If employees holding these positions are removed from these positions in these offices,
they will no longer be subject to the training requirements in Paragraph 26.

If a position identified above changes name or title but remains substantially similar in job functions and
requirements, then Defendant Plains remains bound by the accompanying requirements of this Decree as
to that renamed position as if it were listed on Exhibit E. Likewise, for any new position created in the
Midland or Seminole locations with substantially similar job functions and requirements as one of the
positions identified above, Defendant Plains is bound by the accompanying requirements of this Decree
as if that new position were listed on Exhibit E.

32

 
